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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 JOHN DOE,

                                   Plaintiff,                               NOTICE OF MOTION
                          v.                                                    Civil Action No.
                                                                               2:24-cv-6146-SIL
 HOFSTRA UNIVERSITY; BOARD OF TRUSTEES OF
 HOFSTRA UNIVERSITY,

                                   Defendants.


           PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, and upon

Plaintiff’s Complaint (ECF Doc. No. 1) and Defendant’s Answer with Exhibits (ECF Doc. No.

14), Defendant Hofstra University shall move before the United States District Court for the

Eastern District of New York for Judgment on the Pleadings dismissing Plaintiff’s Complaint

(ECF Doc. No. 1) pursuant to Federal Rule of Civil Procedure 12(c) on the grounds that the

Complaint fails to state a claim on the pleadings, together with such other and further relief as this

Court may deem just and proper.

           Pursuant to Local Rule of Civil Procedure 6.1, opposing papers, if any, must be served

within 14 days safter service of this motion, and reply papers must be served within 7 days of

service of any opposition papers. Defendant requests oral argument on this motion.


Dated: November 15, 2024                              BOND, SCHOENECK & KING, PLLC


                                                      By:    /s/Suzanne M. Messer
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